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                     Exhibit
      Evidence Packet in Support of Defendant’s Motions for Summary Judgment



        U.S.D.C., Central District of California, Case No.:




                                                               Evidence Packet P.0809
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                                                       Evidence Packet P.0810
